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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Criminal No. 16-333 (DWF/SER)

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )      POSITION OF THE
                                         )      UNITED STATES WITH
      v.                                 )      RESPECT TO SENTENCING
                                         )
LUIS ANGEL GARCIA,                       )
                                         )
                    Defendant.           )

      The United States of America, by and through its attorneys, Gregory G. Brooker,

Acting United States Attorney for the District of Minnesota, and Nathan P. Petterson,

Assistant United States Attorney, hereby submits the Position of the United States with

Respect to Sentencing.

                                   BACKGROUND

      Defendant Luis Angel Garcia pled guilty to a one-count Indictment, which charged

him with possession with intent to distribute 500 grams or more of a mixture and substance

containing a detectable amount of methamphetamine, in violation of Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(A). Both the Presentence Report (“PSR”) and the

parties’ Plea Agreement and Sentencing Stipulations (“Plea Agreement”) calculated a total

offense level of 35. That calculation includes a base offense level of 36, since Garcia is

accountable for approximately 4.17 kilograms of actual methamphetamine, which was

based on the seizure of approximately 4.25 kilograms of a substance containing

methamphetamine, with a purity of approximately 98 percent.          (PSR ¶ 14; USSG

§ 2D1.1(a)(5) and (c)(2)). A 2-level increase was applied because Garcia possessed a
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firearm in connection with the offense. (USSG § 2D1.1(b)(1)). Garcia has demonstrated

his acceptance of responsibility, resulting in a 3-level decrease, and a total offense level of

35.   (PSR ¶¶ 14-25; Plea Agreement ¶ 6). Garcia has 3 criminal history points, placing

him in criminal history category II. (PSR ¶ 32). The resulting Guideline range is 188 to

235 months’ imprisonment. (PSR ¶ 60). The charge carries a 10-year mandatory minimum

sentence, under 21 U.S.C. § 841(b)(1)(A)(viii).

                                       DISCUSSION

       The issue before the Court is what constitutes a reasonable sentence as guided by

the factors of Title 18, United States Code, Section 3553(a). Although the Sentencing

Guidelines are advisory, the Court must begin its analysis with the Guidelines and “remain

cognizant of them throughout the sentencing process.” Gall v. United States, 552 U.S. 38,

50 n. 6 (2007). Indeed, a court may “‘rest [its] decision upon the Commission's own

reasoning that the Guidelines sentence is a proper sentence (in terms of § 3553(a) and other

congressional mandates) in the typical case’ if the court finds that the case before it is

typical.” United States v. Robinson, 516 F.3d 716, 718 (8th Cir. 2008) (citing Rita v. United

States, 551 U.S. 338, 357 (2007)). The government respectfully requests this Court to

sentence Garcia to a term of imprisonment of approximately 188 months, the bottom of the

applicable Guideline range. The sentencing factors set forth in 18 U.S.C. § 3553(a) support

the reasonableness of such a sentence.

1.     The Nature and Circumstances of the Offense

       Garcia’s crime was a very serious offense. On November 14, 2016, a search warrant

was executed at a hotel room in St. Cloud, Minnesota, in which Garcia was the sole
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occupant.     When officers entered the room, Garcia was in the bathroom.         Officers

discovered 10 ziploc baggies of methamphetamine in the toilet. The total weight of the

methamphetamine was approximately 4.25 kilograms (approximately 9.35 pounds), and it

was 98 percent pure. Also located in the bathroom was a duffel bag containing clothing, a

scale, and a Glock 9-millimeter handgun. The handgun was loaded, with a round in the

chamber. According to the National Crime Information Center, the handgun was stolen in

March 2016, in Inglewood, California. (PSR ¶¶ 6-8).

2.     The History and Characteristics of the Defendant

       Garcia is only 24 years old, and he does not have a significant criminal history. He

was convicted of the felony offense of Grand Theft- Money/Labor/Property, in Los

Angeles County, California, in September 2016. Garcia was on probation for that offense

at the time he traveled to Minnesota and committed the instant offense. (PSR ¶ 29).

       Garcia has a significant history of substance abuse, including alcohol, marijuana,

cocaine and methamphetamine. To his credit, he has expressed an interest in the Bureau

of Prisons’ Residential Drug Abuse Program (RDAP), which seems appropriate, given his

history.

3.     The Need for the Sentence Imposed To Reflect the Seriousness of the Offense,
       To Promote Respect for the Law, and To Provide Just Punishment for the
       Offense

       A sentence significantly below the Guidelines in this case would not reflect the

seriousness of Garcia’s offense, would not promote respect for the law, and would not

provide just punishment. A sentence within the Guidelines range is necessary to reflect

the seriousness of defendant’s conduct.
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4.     The Need for the Sentence Impose To Afford Adequate Deterrence to Criminal
       Conduct

       Similarly, a sentence significantly below the Guidelines would not afford adequate

“general” deterrence to criminal conduct by others. Under Eighth Circuit law, “general

deterrence . . . is one of the key purposes of sentencing . . .” See United States v. Medearis,

451 F.3d 918, 920-21 (8th Cir. 2006).

5.     The Need for the Sentence Imposed To Protect the Public from Further Crimes
       of the Defendant

       Garcia’s possession of a large quantity of highly pure methamphetamine and a

stolen firearm presented a significant risk to public safety. A sentence in or near the

Guidelines range would protect the public from the commission of further crimes by

Garcia.

6.     The Need To Avoid Unwarranted Sentencing Disparities among Defendants
       with Similar Records Who Have Been Found Guilty of Similar Conduct

       A Guidelines sentence will avoid unwarranted sentencing disparities among

defendants with similar records who have been found guilty of possessing similarly large

quantities of methamphetamine, and possessing firearms in connection with the offense.

                                      CONCLUSION

       For the reasons stated above, the government respectfully requests that the Court

impose a sentence of approximately 188 months’ imprisonment, the bottom of the




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applicable Guidelines range. That would be a reasonable sentence as guided by the factors

outlined in Title 18, United States Code, Section 3553(a).

Dated: August 29, 2017

                                                Respectfully Submitted,

                                                GREGORY G. BROOKER
                                                Acting United States Attorney

                                                s/ Nathan P. Petterson

                                                BY: NATHAN P. PETTERSON
                                                Assistant U.S. Attorney
                                                Attorney ID No. 151506




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